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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                           (Greenbelt Division)


 KILMAR ARMANDO ABREGO                         Civil No.: 8:25-cv-00951-PX
 GARCIA et al.,

              Plaintiffs,
                                               DEFENDANTS’ NOTICE OF
       v.                                      ERRATUM

 KRISTI NOEM, Secretary of Homeland
 Security, et al.,

              Defendants.


      Please take notice of the following erratum to Defendants’ memorandum of

law in opposition to Plaintiffs’ emergency motion for a temporary restraining order

(ECF No. 9). On page 11, after the clause—

      And, although authority exists permitting “substantive review of the
      underlying legal bases for” an execution of an order of removal,

please insert—

      that review is limited to whether a removal order exists at all. Madu v.
      U.S. Att’y Gen., 470 F.3d 1362, 1368 (11th Cir. 2006); see also
      Camarena, 988 F.3d at 1273.

Defendants concurrently file a corrected memorandum that implements this

erratum and adjusts the size of the font in footnote 2.
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                                         Respectfully submitted,

                                         Yaakov M. Roth
                                         Acting Assistant Attorney General
                                         Civil Division

                                         s/Erez Reuveni
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Dated: April 1, 2025                     Counsel for Defendants




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